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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

  DEUTSCHE BANK NATIONAL                                  §
  TRUST COMPANY, AS TRUSTEE, IN                           §
  THE TRUST FOR REGISTERED                                §
  HOLDERS OF LONG BEACH                                   §
  MORTGAGE LOAN TRUST 2005-                               §
  WL2, ASSET-BACKED                                       §      Civil Action No.: 3:23-cv-00745-L-BN
  CERTIFICATES, SERIES 2005-WL2,                          §
  ITS SUCCESSORS AND/OR ASSIGNS,                          §
                                                          §
           Plaintiff                                      §
                                                          §
  v.                                                      §
                                                          §
  STEVEN CREAR SR., AND STEVEN                            §
  CREAR JR.                                               §
                                                          §
           Defendants.                                    §

                           MOTION TO STRIKE DEFENDANTS' ANSWER

          Deutsche Bank National Trust Company, as Trustee, in the Trust for Registered Holders

 of Long Beach Mortgage Loan Trust 2005-WL2, Asset-Backed Certificates, Series 2005-WL2, its

 Successors and/or Assigns (Deutsche Bank) moves to strike Steven Crear Sr. and Steven Crear

 Jr.'s (collectively defendants) answer (dkt. 10) pursuant to Rule 12(f).

                                               I.       SUMMARY

          1.       Defendants' answer must be struck because Steven Crear Sr. cannot represent

 Steven Crear Jr. because he is not an attorney, it improperly contains a general denial, and their

 answer runs afoul of Rule 11 and the local rules.

                                     II.      PROCEDURAL HISTORY

          2.       Deutsche Bank filed this lawsuit on April 7, 2023 against Steven Crear Sr. and

 Steven Crear Jr. seeking declaratory judgment finding it is the owner of the property at 1617

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 Gillarel Springs Ln., Dallas, TX 75241 (property), for damages, fees and costs, injunctive relief,

 and a judgment of possession. (dkt. 1.) After several months of unsuccessful attempts to serve

 the Crears, Deutsche Bank moved to extend the deadline to serve and for substitute service given

 the Crears evaded service. (dkt. 5.) On July 17, 2023, the court granted Deutsche Bank's motion

 authorizing substitute service and extending Deutsche Bank's deadline to complete service to

 October 6, 2023. (dkt. 7.) Deutsche Bank requested and summons reissued for defendants on

 August 2, 2023. (dkt. 8.) Defendants filed their answer on August 29, 2023 signed by Steven

 Crear Sr., pro se, containing a general denial and affirmative defenses. (dkt. 10.)

                                              III.     ARGUMENT

 A.       Legal standard.

          3.       "The court may strike from a pleading any insufficient defense or any redundant,

 immaterial, impertinent, or scandalous matter." Mary Kay Inc. v. Dunlap, No. 3:12-CV-0029-D,

 2012 U.S. Dist. LEXIS 86499, 2012 WL 2358082, at *7 (N.D. Tex. June 21, 2012) (quoting Fed.

 R. Civ. P. 12(f)). Although motions to strike are generally disfavored, "[t]he Court has broad

 discretion to determine whether the challenged matter should be stricken." Deutsche Bank Nat'l

 Trust Co. v. Spangler, No. SA-15-CA-356-OLG (HJB), 2015 U.S. Dist. LEXIS 183109, 2015 WL

 12712646, at *5 (W.D. Tex. Aug. 28, 2015).

 B.       Steven Crear Sr. cannot represent Steven Crear Jr. as a nonlawyer.

          4.       In defendants' answer, Steven Crear Sr., pro se, purports to represent himself and

 his son Steven Crear Jr. (dkt. 10.) This is not allowed in federal courts which require "parties may

 plead and conduct their own cases personally or by counsel." 28 U.S.C. § 1654. "[O]ne pro se

 party cannot represent another pro se party: this would constitute the unauthorized practice of law."

 Ir Air, Inc. v. Petros, Civil Action No. 3:22-CV-1703-D, 2023 U.S. Dist. LEXIS 9898, at *4 (N.D.

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 Tex. 2023); see also Gonzales v. Wyatt, 157 F.3d 1016, 1021 (5th Cir. 1998) ("[I]n federal court a

 party can represent himself or be represented by an attorney, but cannot be represented by a

 nonlawyer.").

 C.       Defendants' general denial is improper.

          5.       Rule 8(b) particularly requires "[a] denial must fairly respond to the substance of

 the allegation" by either "[admitting] or [denying] the allegations" or state they "[lack] knowledge

 or information sufficient to form a belief about the truth of an allegation . . ." "The purpose of

 Rule 8 is to ensure that the plaintiff is aware of the allegations in the complaint that the defendant

 admits and those that he contests, so the plaintiff knows what he will need to prove at trial." Wieck

 v. Synrg. Royce LLC, No. A-17-CV-599 LY, 2018 U.S. Dist. LEXIS 14517, 2018 WL 3611880,

 at *1 (W.D. Tex. Jan. 30, 2018). General denials under Rule 8(b)(3) are only proper when all

 allegations in the complaint, including jurisdiction, are denied in good faith. General denials "are

 uncommon in federal court because 'situations in which the complaint can be completely

 controverted are quite rare.'" Mary Kay Inc. v. Dunlap, No. 3:12-CV-0029-D, 2012 U.S. Dist.

 LEXIS 86499, 2012 WL 2358082, at *7 (N.D. Tex. June 21, 2012) (quoting 5 Charles A. Wright

 & Arthur R. Miller, Federal Practice and Procedure § 1265, at 549 (3d ed. 2004)). "This means

 that an answer consisting of a general denial will be available to a party acting in good faith only

 in the most exceptional cases." 5 Charles A. Wright & Arthur R. Miller, Federal Practice and

 Procedure § 1265, at 549 (3d ed. 2004).

          6.       Analysis of defendants' general denial demonstrates it was not brought in good faith

 because defendants fail to challenge subject matter jurisdiction, venue, and personal jurisdiction

 which are all required to be challenged with a general denial. Defendants have failed to file any

 Rule 12 motions contesting these issues. Defendants fail to establish their general denial was

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 brought in good faith requiring its striking. See Cano v. Garcia, No. SA-20-CV-01331-OLG, 2021

 U.S. Dist. LEXIS 35191, at *2 (W.D. Tex. 2021) (finding defendant's general denial was not

 brought in good faith because he failed to file a Rule 12 motion.); see also SEC v. Kirchner, No.

 4:23-cv-0147-P, 2023 U.S. Dist. LEXIS 146426, at *2 (N.D. Tex. 2023) ("Defendant likewise has

 not filed any other motion to contest any issues, just as jurisdiction, raised in the Complaint.")

 D.       Defendants' answer violates Rule 11 and the local rules.

          7.       Rule 11(a) requires "[e]very pleading, written motion, and other paper must be

 signed . . . [stating] the signer's address, e-mail address, and telephone number." Local rule 10.1(b)

 further provides "each pleading, motion, or other paper must: contain a signature block that sets

 forth the attorney’s bar number for the jurisdiction in which the attorney is admitted to practice,

 and a facsimile number and e-mail address where information may be sent to the attorney."

 Defendants' answer provides none of this information. The signature block merely states "Steve

 Crear improper persona sui juris." (dkt. 10.)

                                             IV.      CONCLUSION

          Because Steven Crear, Sr. cannot represent Steven Crear, Jr., their general denial is

 improper, and their answer violates the requirements of Rule 11 and the local rules, Defendants'

 answer must be struck.




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 Date: September 18, 2023                                        Respectfully submitted,



                                                                   /s/ Bryan T. Brown
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                                                                 --Attorney in Charge
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                                                                 Facsimile: 312-704-3001

                                                                 ATTORNEYS FOR DEUTSCHE BANK
                                                                 NATIONAL TRUST COMPANY, AS
                                                                 TRUSTEE, IN THE TRUST FOR
                                                                 REGISTERED HOLDERS OF LONG
                                                                 BEACH MORTGAGE LOAN TRUST
                                                                 2005-WL2, ASSET-BACKED
                                                                 CERTIFICATES, SERIES 2005-WL2,
                                                                 ITS SUCCESSORS AND/OR ASSIGNS



                                    CERTIFICATE OF CONFERENCE

        I sent a letter on September 12, 2023 to the Crears at the property requesting a pre-motion
 conference to discuss plaintiff's motion to strike defendants' answer. I conferred with Steven
 Steven Crear Sr. on September 15, 2023. He is opposed to this motion.



                                                        /s/ Bryan T. Brown
                                                       Bryan T. Brown




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                                        CERTIFICATE OF SERVICE

 A true and correct copy of this document was served on September 18, 2023 as follows:

 Laurel I. Handley
 Aldridge Pite, LLP
 701 N. Post Oak Road, Suite 205
 Houston, TX 77024
 VIA CM/ECF

 Steven Crear, Sr.
 Steven Crear, Jr.
 1617 Gillarel Springs Ln.
 Dallas, TX 75241
 VIA CERTIFIED MAIL NO.9589 0710 5270 0595 2070 10
 & REGULAR U.S. MAIL

                                                                   /s/ Bryan T. Brown
                                                                 Bryan T. Brown




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